                                 Case 5:22-cv-01370-JKP-RBF Document 1-1 Filed 12/21/22 Page 1 of 3
                                                         Exhibit A to the Complaint
Location: San Antonio, TX                                                                               IP Address: 70.114.47.243
Total Works Infringed: 24                                                                               ISP: Spectrum
 Work      Hashes                                                                UTC             Site          Published     Registered   Registration
 1         Info Hash: D323B4EC16C8CD83752B6A5E4B65DEED95346FA2                          12-04-   Vixen         05-06-2022    05-20-2022   PA0002350383
           File Hash:                                                                     2022
           32BB57E161FF42FDD49E28DBBB43994CDD455364EEA844B2396E47DDB7E46DA2           19:38:31
 2         Info Hash: 3FD8DDB73D73F9C1D313EFF67CE543DF105AE0CE                          12-04-   Slayed        04-05-2022    04-21-2022   PA0002353031
           File Hash:                                                                     2022
           6A43F4085409E6BA5721766B89DC1FEEB0A6484D00604BBCB4FE074B7F8BFA01           14:00:46
 3         Info Hash: 0E913315A3973DF6AD0BE9876D15FAB2DDF9D30E                          11-04-   Vixen         03-11-2022    04-21-2022   PA0002353783
           File Hash:                                                                     2022
           63CD2C0A12F13494CF43FAF9B20A8DEAFF89DEB397B07172243EF45320B35E38           21:55:16
 4         Info Hash: 0F058C65F3232B7C21FC46A70D9A282290A70729                          11-04-   Vixen         02-11-2022    02-14-2022   PA0002335457
           File Hash:                                                                     2022
           13F283614EA119F14F567A4C85407B6D90A09735B58AE12228BE7A085CB81F34           21:21:49
 5         Info Hash: E2D4A404654D90063AD427121874DAE5BE1A7196                          11-04-   Slayed        01-11-2022    02-03-2022   PA0002341794
           File Hash:                                                                     2022
           C47E1A387F715C5B217AC156AA84F4B5FD8C3E147D5EAAADDE08C263A8A6A59C           08:42:39
 6         Info Hash: 3C0443FF390767BA5B427401087ADB1B626BCE22                          11-01-   Vixen         12-25-2020    02-02-2021   PA0002280511
           File Hash:                                                                     2022
           E520AAE48CD901AFC55DC2F91A93F95D694D5474712E3610243878B86B759E13           06:21:59
 7         Info Hash: DA9FC5624A00B5B18BEFBCF28AB66119198189DD                          11-01-   Vixen         04-16-2021    06-09-2021   PA0002295602
           File Hash:                                                                     2022
           A790D67972270A9C923425B5B622571F18871C5E7F96E96867150001EDD3B377           05:54:48
 8         Info Hash: 56BF0671C368B87782691AB922B69AF7CF37FB90                          10-31-   Vixen         01-29-2019    03-24-2019   PA0002182715
           File Hash:                                                                     2022
           13E72D5238F3DDCC10A5CDD7C75111454B81CF7F0D553172C185DF3F25617EE6           17:39:55
 9         Info Hash: 510C2BAB64EA5525520E00137D9908D94024D1AB                          10-31-   Vixen         03-25-2022    04-23-2022   PA0002346420
           File Hash:                                                                     2022
           1C51B794FEAF50F037AB80706445580AD627E13343301FD34EDCC500BF4AB121           14:09:46
 10        Info Hash: 07ED11AC0EC82B0CEFBF62C39FCF5223444BC2E0                          10-31-   Vixen         12-24-2021    01-17-2022   PA0002330122
           File Hash:                                                                     2022
           DC87B9EA7DF8B95C787AD8F0BF6150147E8898487880BD42F1A3748E7A8D53A4           14:02:21
 11        Info Hash: AD5C18C1994C5C7C76E738EE43E039563A9A8BD2                          10-30-   Vixen         11-15-2019    12-03-2019   PA0002232048
           File Hash:                                                                     2022
           6C8BFD68D9A18180B8BCAC1B5CAF5ED59CA39E57F01E76638702D71B369E3134           22:32:37
                            Case 5:22-cv-01370-JKP-RBF Document 1-1 Filed 12/21/22 Page 2 of 3

Work   Hashes                                                             UTC         Site    Published    Registered   Registration
12     Info Hash: A83F4EC5922C112BE37DAE66274D109EDB82FE84                   10-30-   Vixen   06-10-2022   06-27-2022   PA0002354995
       File Hash:                                                              2022
       FB03344F09C922C4144FE320E0D99B122B579E4D865A25EEC79FF59D08B6FCFF    19:35:53
13     Info Hash: FA559A61850FE6B3A7C43F46FE168F51ABCB8C2A                   10-30-   Vixen   07-16-2021   09-21-2021   PA0002312673
       File Hash:                                                              2022
       F8A46AEC8B6B5FEDEA126180DB4ED9C9B694D8A1CB2EC79EBF46465179F5BB42    19:34:47
14     Info Hash: DE00285CDC5F2F3A2D02D98133147476F144C14D                   10-30-   Vixen   07-08-2018   07-26-2018   PA0002112152
       File Hash:                                                              2022
       395ACDAEEFF369C0DDDE0DDD3850ACCA1AC20A12CC5EAC8F2173EA2F8AA2B3EF    09:01:16
15     Info Hash: 10E95AA960403A02807B086D651EBB92DB4BE7C7                   10-30-   Vixen   02-08-2019   03-24-2019   PA0002183193
       File Hash:                                                              2022
       3A9F2FB9507C68462A8B5861DE8A247687BF5EDD514E55C555AD6440DAE20678    08:48:09
16     Info Hash: FFE5224A5E3925847375F8E327267AC2B3148E49                   10-27-   Vixen   12-25-2019   01-03-2020   PA0002219640
       File Hash:                                                              2022
       5DDEDA2C21234E18A2388E4956D2DFAC0A8A6DA58AEE52EEDECD4A8DBE69AA33    12:09:48
17     Info Hash: D2DDFFECCBBB08FD6FC8A70B89DB307276CC73A7                   10-27-   Vixen   02-13-2020   03-15-2020   PA0002240552
       File Hash:                                                              2022
       CCB1334ACDB8D410F38DDA3BCDC79A6FD7D18941840D14C855F2866FFD8F9B4A    12:09:15
18     Info Hash: 3ACD1EECE1081E1CA41E348646481F4D9E28B44E                   10-27-   Vixen   02-04-2022   02-14-2022   PA0002335462
       File Hash:                                                              2022
       478D6B308D7B444EECEAD5198C28C40247F9B84D3ACABEE6DA17B102831E08E7    04:23:39
19     Info Hash: 34F0DA2F0CCF929271FCC00697F4B9070B8C4254                   10-27-   Vixen   08-26-2022   10-05-2022   PA0002373767
       File Hash:                                                              2022
       14077D361F4604AA9DBBE92C06966CEF5BB7DC4073ECF07D76458645073A9F67    04:17:54
20     Info Hash: 00783959987FB8DB89EF83A65108801CE87E72DE                   10-26-   Vixen   08-02-2019   08-22-2019   PA0002195510
       File Hash:                                                              2022
       E85980CA85AD8EDAA171D8682A1F5D353E18F525631C246FCAF60067AD8BF4D4    23:57:12
21     Info Hash: 654CFBA775433926717A3E0D58C90196F0413460                   10-25-   Vixen   10-16-2020   11-18-2020   PA0002272621
       File Hash:                                                              2022
       BE957B752D7675E37648F2D81C3040F9E272C6D4588CBDFAB6E52E785DD954C9    23:04:35
22     Info Hash: 76D21AD8087AA69EB7BF4DF16ED603A1411A7EC4                   10-25-   Vixen   01-24-2020   03-15-2020   PA0002240434
       File Hash:                                                              2022
       881B0BBBE91B6CE7C3868F008B3DEBAF1457A2EF08F853226BC34984B338C2B5    15:20:17
23     Info Hash: EE164157CC85B1C5589DEDCB523C91D750A75399                   10-24-   Vixen   11-19-2021   12-09-2021   PA0002325815
       File Hash:                                                              2022
       3C436FD215694282EC63C7412A3D4801978123631FBB513B382C2AB897FD099A    17:28:19
                             Case 5:22-cv-01370-JKP-RBF Document 1-1 Filed 12/21/22 Page 3 of 3

Work   Hashes                                                             UTC       Site    Published    Registered   Registration
24     Info Hash: BE759F6A958267C1A4C7E1B93F63ECB0B0EE0A46                   10-24- Vixen   05-21-2021   06-03-2021   PA0002299688
       File Hash:                                                              2022
       4CA71F7DF19396D03CFAE2047B41EE8B846297AC0CD7DF5EB885A7BA9879C004    17:17:25
